          IN THE UNITED STATES DISTRICT COURT
       FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

UNITED STATES OF AMERICA                   :
                                           :
                                           :
             V.                            :              1:23CR260-2
                                           :
                                           :
REMY RA ST. FELIX                          :


                      MOTION TO WITHDRAW
     NOW COMES undersigned counsel Alan Doorasamy Sr. and

respectfully requests for an Order allowing Alan Doorasamy Sr. to

withdraw from all future representation in this matter, and states the

following:

     1. Counsel was appointed to represent the defendant in this

        matter on September 5, 2023.

     2. The defendant was sentenced by this Court on September

        11, 2024. Judgment and Statement of Reasons were filed on

        October 17, 2024.

     3. Pursuant to defendant’s request, a Notice of Appeal was filed

        on October 25, 2024.

     4. Defendant requires appellate counsel to assist him in his

        appeal. Counsel is not on the appellate panel.

     5. Defendant has been advised that counsel will withdraw from

        all further representation after filing the notice of appeal.



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      6. In the interests of justice and fairness, counsel submits that

         defendant will be better served by appellate counsel.

      7. Counsel has notified AUSA Eric Iverson of this filing.

      8. Counsel has completed the assignment in this matter, and

         respectfully requests permission to withdraw from all further

         representation of the defendant.

WHEREFORE, undersigned counsel prays the Court to enter an Order

allowing undersigned counsel’s Motion To Withdraw as the attorney of

record and that this Court appoint an appellate attorney to assist the

defendant with his appeal.

      Respectfully submitted this the 25th day of October 2024.


                                      / s / Alan Doorasamy Sr.
                                      ALAN DOORASAMY, Sr,
                                      State Bar #: 31493
                                      107 Westdale Ave
                                      Winston-Salem, NC 27101
                                      336-777-3773 (Office)
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                          CERTIFICATE OF SERVICE


      This is to certify that on October 25, 2024, I electronically filed

the foregoing Motion To Withdraw with the Clerk of Court using the

CM/ECF system which will send notification of such filing to the

following:

             Eric Iverson, Esq.
             Assistant United States Attorney
             101 South Edgeworth Street, 4th Floor
             Greensboro, NC 27402.

By hand-delivering a copy of this Motion To Withdraw on:

             Remy Ra St Felix
             Defendant
             Guilford County Detention Center
             Greensboro, North Carolina

      Respectfully submitted,


                                       / s / Alan Doorasamy Sr.
                                       ALAN DOORASAMY
                                       State Bar #: 31493
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                                       Winston-Salem, NC        27101
                                       336-777-3773 (Office)
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